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           EXHIBIT L
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September 6, 2023


Diana Lopez
County Librarian
Yolo County Library
Shipley Walters Center for Yolo County Archives and Library Services

Woodland, CA 95695


Dear Ms. Lopez,


We represent the organizer and invited speakers of the August 20 event that was
unconstitutionally shut down by library officials: Moms for Liberty – Yolo County,
CA (organizer), Independent Council on Women’s Sports, California Family Council,
Our Duty, and Allie Snyder.

I am writing in response to your August 24 email to Ms. Bourne. In your email, you
say that you are “updating” the library’s policies regarding use of meeting space.
However, your email fails to specify the revisions to be made. As you are aware,
Scott Love, Yolo County Library Regional Manager, shut down the event because a
speaker “talk[ed] about men in female sports.” Mr. Love stated that this constituted
“misgendering” and that using the phrase “men in female sports” was prohibited by
both California law and library policy. Mr. Love then shut down the event.

My clients intend to host the same event at the Mary L. Stevens Davis branch of the
Yolo County library in the near future. To ensure that my clients are able to host
their event without unlawful cancellation or disruption, please confirm in writing
that: (1) my clients and members of the audience are allowed to express their
understanding of sex and gender during the event, even if library officials consider
this to be “misgendering” or otherwise wrong or offensive; (2) library officials will
not shut down the event or try to censor anyone that refers to a person whose natal
sex is male as male, man, boy, he, or him, or that refers to a person whose natal sex
is female as female, woman, girl, she, or her; (3) library officials will not take any
adverse action against my clients or members of the audience based on their
viewpoint related to gender identity or the sex or gender of participants in sports;
(4) library officials will provide adequate security and will promptly remove any
attendee(s) that attempts to disrupt the event in any way, including but not limited
to, shouting down or interrupting the speakers, making sounds that interfere with
the speakers’ ability to be heard, blocking entrances or exits, or obstructing views;



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and (5) my clients are allowed to hire private security to provide additional security
at the event if they choose to do so.

If we do not receive your written affirmation to these terms by the close of business
on September 13, our clients may pursue other legal remedies.

Additionally, please preserve all documents related to the August 20 event,
including but not limited to all communications sent or received by any Yolo County
officials and/or employees. Communications as used in this preservation request
includes both emails and ephemeral communications such as text messages,
iMessages, WhatsApp messages, or similar messages that were sent or received by
any Yolo County official or employee, on any communication platform, and includes
communications stored on Yolo County IT assets, in private email accounts, and on
personally owned devices, such as smart phones or tablets, which were used in part
to send or receive communications related to the August 20 event.

                          Respectfully Submitted,

                          s/Tyson C. Langhofer
                            Tyson C. Langhofer
                            Senior Counsel

cc: Elisabeth Bourne
    Kim Jones
    Sophia Lorey
    Erin Friday
    Allie Snyder




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